
WALLER, Chief Justice,
for the Court.
¶ 1. Sharon Trigg Spann filed a negligence lawsuit against the City of Jackson and Mary Jenkins in the Circuit Court of the First Judicial District of Hinds County. Before trial, Spann settled with Jenkins, leaving the City as the sole defendant. Following a non-jury trial, the circuit judge awarded Spann $285,595.52 in damages. Both parties agreed to a setoff of $25,000, which reflected the amount of the pre-trial settlement with Jenkins. The circuit judge subsequently entered an amended final judgment in the amount of $260,595.52. Because there is no substantial, credible evidence to support the awards for future surgery and disability, we affirm in part and reverse and remand in part, for entry of a remitted judgment of $70,595.52.
FACTS AND PROCEDURAL HISTORY
¶ 2. From the pleadings, transcript, depositions, and Spann’s proposed findings of fact and conclusions of law,1 we glean the following.
¶ 3. On October 21, 2003, Officers Reginald Liggins and Rueben Currie (hereinafter collectively “the Officers”), acting in their official capacity, initiated pursuit of a silver Nissan Altima traveling north on Valley Street. • According to Officer Lig-gins, the Altima had run a stop sign2 and had no license plate. When the Officers engaged their blue lights, the Altima fled north on Valley Street and turned west onto Capitol Street at speeds between seventy and eighty miles per hour. The Officers were unable to overtake the vehicle and abandoned their pursuit. Suspecting that the Altima had been stolen, they canvassed a few neighborhoods where stolen cars frequently are left. They eventually resumed their normal patrol.
¶ 4. Soon thereafter, the Officers spotted the same Altima at the intersection of St. Charles Avenue and Ellis Avenue. As soon as the driver of the Altima saw the Officers, he ran the red light and sped south on Ellis Avenue. The Officers, in turn, resumed their chase. The Altima traveled past Hardy Middle School, the Jackson Public School’s Career Development Center, and Provine High School at speeds in excess of sixty miles per hour, and ran several red lights along the way.
¶ 5. The Officers followed the Altima into the intersection of Ellis Avenue and Lynch Street. As they entered the intersection, the Officers slowed down and checked for oncoming traffic.3 There is conflicting testimony as to whether or not the Officers had on their lights and siren as they entered the intersection.4 Inside the intersection, the Officers’ patrol car collided with a Nissan Maxima driven by Jenkins. The force of the collision caused their patrol car to hit a Federal Express truck driven by Spann.
*1032¶ 6. After the accident, Spann was treated at Baptist Medical Center in Jackson and released that same day. The next morning, she claimed that she experienced pain throughout her body and could hardly move. In the following months, Spann was examined by several doctors5 who offered varying opinions, including Dr. Charles N. Crenshaw, Dr. Dinesh Goel, Dr. James L. Williams, and Dr. George E. Wilkerson.6 Spann attempted to return to her job at Federal Express, but she was dismissed and told not to return until her medical restrictions had been removed.
¶ 7. On June 24, 2004, Spann filed suit against Jenkins and the City in the Circuit Court of the First Judicial District of Hinds County. Jenkins was dismissed with prejudice after settling with Spann for $25,000. After a non-jury trial on December 12, 2005, the circuit judge ruled for Spann in the amount of $285,595.52. The City filed a motion to amend or vacate the judgment, or in the alternative, for a new trial, to which Spann filed a response. The circuit judge denied the City’s motion to vacate the judgment and motion for new trial, but entered an amended judgment of $260,595.52 to set off the earlier settlement with Jenkins.
¶ 8. The City now appeals to this Court raising the following two issues: (1) whether the circuit court erred in finding the City one hundred percent liable; and (2) whether the award was against the substantial, credible evidence.
DISCUSSION
I. Whether the circuit court erred in finding the City one hundred percent liable.
¶ 9. This case was filed pursuant to the Mississippi Tort Claims Act, and therefore, was subject to hearing and determination by a judge sitting without a jury. Miss.Code Ann. § 11-46-13 (Rev.2002). The findings of a circuit court judge sitting without a jury “will not be reversed on appeal where they are supported by substantial, credible, and reasonable evidence.” Donaldson v. Covington County, 846 So.2d 219, 222 (Miss.2008) (citing Maldonado v. Kelly, 768 So.2d 906, 908 (Miss. 2000)). However, where a trial judge adopts, verbatim, findings of fact and conclusions of law prepared by a party to the litigation, this Court analyzes those findings with greater care, and the evidence is subjected to heightened scrutiny. Brooks v. Brooks, 652 So.2d 1113, 1118 (Miss.1995) (citing Omnibank v. United Southern Bank, 607 So.2d 76, 83 (Miss.1992); Matter of Estate of Ford, 552 So.2d 1065, 1068 (Miss.1989)). Because the trial judge adopted Spann’s findings of fact and conclusions of law substantially verbatim, less minimal superficial editing, the deference normally afforded the trial judge is lessened. See Brooks, 652 So.2d at 1118 (citing Omnibank, 607 So.2d at 83).
¶ 10. The City does not appeal the circuit court’s finding that the Officers acted with reckless disregard in pursuing the Altima.7 Rather, the City argues that *1033even if the Officers acted with reckless disregard, the circuit court failed properly to establish that their actions were a proximate cause of Spann’s injuries, and, even if the Officers were a proximate cause, the circuit court erred by not apportioning fault to Jenkins, who also was a proximate cause.
¶ 11. To recover damages in a negligence suit, a plaintiff must establish that the damage was proximately caused by the negligent act of the defendant(s). Glover v. Jackson State Univ., 968 So.2d 1267, 1277 (Miss.2007); Miss.Code Ann. § 85-5-7(1), (5) (Rev.1999) (fault is allocated only to the party(s) which proximately caused the injury to the plaintiff). Proximate cause requires the fact finder to find that the negligence was both the cause in fact and the legal cause of the damage. Glover, 968 So.2d at 1277 (citing Dobbs, The Law of Torts, § 180 at 443 (2000)). “Cause in fact” means that, but for the defendant’s negligence, the injury would not have occurred. Glover, 968 So.2d at 1277. If the plaintiffs injuries are brought about by more than one tortfeasor, cause in fact is based upon whether the negligence of a particular defendant was a substantial factor in causing the harm. Id. at 1277 n. 11 (citing Dobbs, The Law of Torts, § 171 at 415). Once cause in fact is established, the defendant’s negligence will be deemed the legal cause so long as the damage “is the type, or within the classification, of damage the negligent actor should reasonably expect (or foresee) to result from the negligent act.” Glover, 968 So.2d at 1277 (citing Dobbs, The Law of Torts, § 180 at 443).
¶ 12. We find substantial evidence to support the circuit court’s finding that the Officers’ conduct was a proximate cause of the accident. But for the high-speed pursuit and the manner in which the Officers proceeded into the intersection, the accident would not have occurred. Spann testified that the Officers did not have their sirens on at the time of the wreck. Jenkins, likewise, did not see any blue lights or hear a siren as she approached the intersection. While the Officers testified to the contrary, the circuit judge was entitled to weigh the credibility of this conflicting testimony. Additionally, Spann’s expert Dennis Waller8 opined that the Officers went through the intersection much faster than the fifteen-to-twenty miles per hour that they asserted.9 Even if the Officers did in fact slow down and check for oncoming traffic, Waller explained that they were obligated to stop and ensure that all traffic had stopped.10 It also was highly foreseeable that the Officers’ conduct could lead to an accident.
¶ 13. We further find that the circuit court did not fail to address the compara*1034tive fault of Jenkins, but simply assigned one hundred percent fault to the City. The circuit court did not set forth specific percentages of fault either to the City or to Jenkins, but clearly held that the Officers were “the proximate cause[ ]” of the accident. By finding only one proximate cause, the circuit court implicitly assigned no fault to Jenkins.11
¶ 14. We also find substantial evidence to support the circuit court’s finding that Officers were the sole proximate cause of the collision. As previously noted, Waller testified that the Officers were the sole proximate cause of the wreck. As a general rule, a “motorist’s right to assume that the driver of a vehicle proceeding toward an intersection will obey the law of the road, which requires him to stop before entering the intersection, exists only until he knows or in the exercise of ordinary care should know otherwise.” Busick v. St. John, 856 So.2d 304, 317 (Miss.2003) (quoting Jobron v. Whatley, 250 Miss. 792, 168 So.2d 279, 284 (1964)). Certain facts suggest that Jefikins should have realized the need to stop before entering the intersection — all other traffic had halted and she admitted that her eyes were tired. Nevertheless, Jenkins stated that she was observant and focusing straight ahead at the time. More significantly, Jenkins testified that she had a green light and did not see any blue lights or hear any siren as she proceeded into the intersection. This corresponds with Spann’s testimony that the Officers did not have their lights and sirens engaged at the time of the accident. While admittedly a close question of fact, we find reasonable evidence to support the circuit court’s finding.
¶ 15. For the aforementioned reasons, we find the City’s first assignment of error to be without merit.
II. Whether the award was against the substantial, credible evidence.
¶ 16. As discussed under Issue I, we analyze the evidence in the subject case with heightened scrutiny. See Brooks, 652 So.2d at 1118 (citing Matter of Estate of Ford, 552 So.2d at 1068). When reviewing an award for damages, this .Court will not overturn an award unless the damages are “so excessive as to strike mankind, at first blush, as being, beyond all measure, unreasonable, and outrageous, and such as manifestly show the jury to have been actuated by passion, partiality, prejudice, or corruption.” United States Fid. &amp; Guar. Co. v. Estate of Francis, 825 So.2d 38, 47 (Miss.2002) (quoting Biloxi Elec. Co. v. Thorn, 264 So.2d 404, 405 (Miss.1972)).
¶ 17. The City argues that the trial court simply ignored the testimony of Drs. Williams and Wilkerson. It further submits that the testimony of Drs. Crenshaw and Goel does not reasonably support the circuit court’s award of damages. We note that all of the physicians testified by deposition so the trial court was not able to observe their demeanor.
¶ 18. Dr. Crenshaw, who is a family physician at the Reservoir Family Medical Clinic in Flowood, Mississippi, saw Spann on twenty-four occasions from October 22, 2003, through May 25, 2005. He initially determined that Spann had “right posteri- *1035or neck muscle and left anterior neck muscle strain and spasm, contusion, possible strain to the left knee,12 lumbosacral strain and spasm and a tension headache.” He prescribed some anti-inflammatories and muscle relaxers, and recommended physical therapy.
¶ 19. In her following visits with Dr. Crenshaw, Spann exhibited various other symptoms. In December 2003, she showed for the first time some signs of nerve damage consistent with a L4-5 nerve root compression. In January 2004, she complained of a “band like [sic] headache” and arthritic pain in her hands, arms, feet, and legs. In February 2004, she cited pain in her left arm. Given these odd changes, Dr. Crenshaw referred her to a neurologist, Dr. Wilkerson. In April 2004, Dr. Crenshaw reviewed a magnetic resonance imaging (MRI) report. According to Dr. Crenshaw, the report showed no significant compromise throughout the lumbar spine and a normal distal cord. The report did, however, indicate “some minor arthritic type changes, concentric disk [sic] bulge a[t] L4-5, [and] some facet joint hypertrophy.” Dr. Crenshaw believed that the MRI findings lent credibility to Spann’s complaints of lower-back pain. He described her condition as “chronic whiplash injury.”
¶ 20. While Dr. Crenshaw thought that Spann had embellished some things, his overall opinion was that she did suffer an actual injury as a result of the accident. There were some problems that he could not relate to the wreck, such as arthritic-type pain in her hands, arm, and feet. Nevertheless, he stated that the pain in her right posterior neck and the general area of the L4-5 disc in her lower back was objectively “reproducible every time.” He also stated that these particular symptoms would be consistent with the type of collision that she had experienced.
¶ 21. Dr. Crenshaw opined that Spann could have performed some light duty— but no heavy lifting — between October 2003 and May 2005.13 He stated that she probably could have driven a delivery truck and that she needed to move around some, but said that she should not pick up and haul packages until she fully recovered. Because her last visit to him was in May 2005, he presumed that she could have returned to work at that time.
¶ 22. Dr. Goel, who practices family medicine at the Medical Clinic of Mississippi in Jackson, Mississippi, saw Spann on about six or seven occasions from March 2005 until November 2005. Dr. Goel stated that he quit practicing surgery about eight or nine years ago, and his principal practice is now family medicine. He also stated that he sees many car accident patients each week.
¶ 23. Dr. Goel diagnosed Spann as having a post-traumatic headache, chronic neck and back pain, and depression. He ordered MRIs on her neck, back, brain, and knee. According to Dr. Goel, these MRIs showed the following: (1) minimal bulging of the C5-6 and C6-7 discs in her neck; (2) L4-5 disc bulging in her lumbar spine; and (3) a torn meniscus in her left knee.14 He further noted degenerative changes in her lumbar spine as well as arthritis. He recommended that she un*1036dergo arthroscopic surgery to repair the torn meniscus. Because of the meniscus tear, he assigned her a five-percent disability rating.15
¶ 24. Dr. Williams, who is a physical medicine and rehabilitation specialist at Methodist Rehabilitation Center in Jackson, Mississippi, treated Spann on four occasions from December 8, 2003, until February 3, 2004. In his initial examination on December 8, 2003, Dr. Williams noted that she had tenderness in multiple areas of her neck, back, and buttocks, and exhibited some weakness in the muscles around her left hip joint. Otherwise, she had normal strength in her upper and lower extremities and a normal range of motion in her spine. He expressed skepticism concerning the spread of pain through so many different areas. For example, he could not explain how he could press on one part of her body, and she could experience pain in a totally different part as a result. His overall initial assessment was that “she had neck and low back pain with examination findings that were consistent with exaggerated pain behavior.” He prescribed physical therapy and recommended that she discontinue the anti-inflammatories and muscle relaxers. He provided her a return-to-work excuse, recommending that she lift no more than fifty pounds infrequently, and no more than twenty-five pounds frequently.
¶ 25. Dr. Williams’s assessment of Spann changed very little in her following visits. He conducted an electromyography (EMG) in January 2004, which revealed no significant nerve root damage. In February 2004, he once again described her condition as “nonspecific mechanical neck, mid, and lower back pain with significant exaggerated pain behavior ... and a history inconsistent with anatomical pathology.” He was also of the opinion that “secondary gain issues” were prominent. He explained “secondary gain issues” as presenting oneself with an illness or condition in order to receive attention and/or favorable treatment. At this point, he recommended that she return to work with no restrictions.
¶ 26. Dr. Wilkerson, a board-certified neurologist at Rankin Medical Center in Brandon, Mississippi, saw Spann twice in February 2004 and in March 2004, upon a referral from Dr. Crenshaw. In March 2004, he reviewed her MRI16 and EMG reports and believed the results of these studies appeared normal. His impression was that Spann had some “musculoskelatal discomfort” but nothing major. He believed that Spann had reached maximum medical improvement and could go back to work immediately.
¶27. The trial occurred on December 12, 2005, and Spann submitted her first proposed findings of fact and conclusions of law on December 30, 2005. Spann then submitted an amended proposed findings of fact and conclusions of law — which contained a significant difference — a few days later on January 3, 2006.17 The final judg*1037ment was entered almost one year later on December 1, 2006, in which Spann was awarded the following damages:
Past Medical Expenses $ 26,875.53
Future Medical $ 20,000.00
Lost Wages $ 18,720.00
Future Surgery $ 20,000.00
Pain and Suffering $ 50,000.00
Disability $150,000.00
$285,595.53
The total award subsequently was reduced by $25,000, to account for the settlement with Jenkins. Thus, the final judgment totaled $260,595.52.
¶ 28. In its opinion and order, the trial court found that “the expert opinions of Drs. Crenshaw and Goel are very persuading and should therefore be given more weight than the opinions of [Drs. Williams and Wilkerson].” 18 This comparative language is enough to indicate that the trial judge considered the testimony before it and merely acted within his province to weigh the credibility of witnesses. Miss. Dep’t of Pub. Safety v. Durn, 861 So.2d 990, 994 (Miss.2003) (citing City of Jackson v. Lipsey, 834 So.2d 687, 691 (Miss.2003)).
¶ 29. Yet the City adamantly contests whether Dr. Crenshaw’s and Dr. Goel’s opinions were sufficient to justify Spann’s damages. The City contends that Dr. Crenshaw is not board-certified and that he expressed some doubt about the extent of Spann’s injuries; therefore, his testimony does not provide substantial, credible evidence to support her damages. As to Dr. Goel, the City insists that his testimony should be given no weight because it was not based upon sufficient facts or data. The City submits that, among other things, Dr. Goel did not review the records of Spann’s other medical providers; did not see Spann until one-and-a-half years after the accident; knew that she had a lien arrangement with Spann’s counsel for an outstanding bill of $3,882; and conceded that her lumbar pain was subjectively minimal.
¶ 30. We find that any challenges to the reliability of Dr. Crenshaw’s and Dr. Goel’s opinions should have been addressed in the circuit court via a Daubert19 challenge. See Smith v. Clement, 983 So.2d 285, 289, 2008 Miss. LEXIS 172, *8 (Miss.2008) (citing Poole v. Avara, 908 So.2d 716, 723 (Miss.2005)) (trial judges bear the gate-keeping responsibility for the admission of expert testimony). At Dr. Goel’s deposition, the City objected to *1038his being tendered as an expert in physical medicine. At trial, however, the City raised no objection to the admission of Drs. Crenshaw’s and Goel’s depositions.
¶ 31. We find the testimony of Drs. Crenshaw and Goel sufficient to support the award of damages for past medical expenses, lost wages, and pain and suffering. Dr. Crenshaw’s assessment of Spann did raise some questions as to the extent of her injuries. But he also clarified that, even if Spann may have embellished some things, this did not detract from the fact that she had experienced an actual injury. His testimony, considered on its own, may well fall short of constituting substantial, credible evidence. But when his testimony is considered alongside Dr. Goel’s, there is substantial evidence. According to their testimony, Spann was diagnosed as having post-traumatic headaches, chronic neck and back pain, left-knee pain, and depression. Tests indicated: (1) minimal bulging of the C5-6 and C6-7 discs in her neck; (2) L4-5 disc bulging in her lumbar spine; (3) mild facet joint hypertrophy; (4) and a meniscus tear in her left knee. Because Spann had no prior history of neck or back pain, Drs. Crenshaw and Goel attributed her pain and arthritic changes to the accident.
¶ 32. The amounts for past medical expenses, lost wages, and pain and suffering are supported in the evidence and do not “shock the conscience” of the Court. The $26,875.53 for past medical expenses is equivalent to the total amount of all medical bills agreed by the parties as authentic and admissible at trial.20 The award of $18,720 for lost wages was calculated by multiplying thirty-six weeks,21 at forty hours per week, at $13 per hour.22 The $50,000 amount for pain and suffering is supported by Spann’s own testimony about the physical and emotional pain that she has suffered since the accident, as well as the testimony of Drs. Crenshaw and Goel. Because of the meniscus tear and continuing back pain, Spann also will endure future pain and suffering.
¶ 33. However, we do not find substantial, credible evidence to support the trial court’s $20,000 award for future medical expenses, its $20,000 award for future surgery, or its $150,000 award for disability. Although Dr. Goel testified that Spann would likely continue to experience ailments, there is no testimony establishing future medical expenses, other than the equivocal testimony regarding future surgery. The only support for $20,000 for future surgery comes from the following exchange:
[Spann’s Attorney]: Within a reasonable degree of medical certainty, do you have a reasonable estimation of what the cost would be to surgically repair the meniscus tear?
[[Image here]]
*1039[Dr. Goel]: Well, I would guess around $20,000. I don’t know for sure.
[Spann’s Attorney]: Okay.
[Dr. Goel]: It’s the hospital charges. [Spann’s Attorney]: But based on your background as a surgeon, a reasonable estimation would be $20,000?
[Dr. Goel]: This is my guess.
(Emphasis added).
¶ 34. Considering that Dr. Goel had not practiced surgery for eight or nine years, we fínd his mere “guess” insufficient to establish substantial, credible evidence to support the $20,000 award for future surgery. See Catchings v. State, 684 So.2d 591, 598 (Miss.1996) (expert medical testimony must evince some level of certainty). Our finding does not imply that Spann did not suffer a torn meniscus. Even though no other testifying physician detected this injury, there is nothing in the record to refute Dr. Goel’s finding. But the fact that such an injury existed does not lessen the need for credible evidence to support the costs associated with treatment and/or repair.
¶ 35. The $20,000 for future surgery and the $150,000 for disability are interrelated. Because of the torn meniscus and the resulting loss of function to her left knee, Dr. Goel assigned a five-percent disability rating to Spann. According to the American Medical Association’s Guides to the Evaluation of Permanent Impairment, an impairment evaluation should include “a comprehensive, accurate medical history; a review and summary of all patient records; and a comprehensive description of the individual’s current symptoms and their relationship to daily activities,” as well as a thorough physical examination and review of all the relevant tests. Robert D. Rondinelli, M.D., Ph.D., et al., Guides to the Evaluation of Permanent Impairment 5 (American Medical Association, 6th ed.2008). The only support in the record for Dr. Goel’s assignment of a five-percent loss of function was his notation of a mild restriction in the range of motion of her left knee, chronic pain, and her inability to put her full weight on the left knee. He further advised Spann to see an orthopedic surgeon, but she said that she could not find one. There is no testimony, report, or other evidence to support that Dr. Goel engaged in a comprehensive evaluation. Tellingly, he acknowledged his own uncertainty as to Spann’s physical limitations. When asked whether Spann would be able to return to work, he stated that he did not believe so but added that “[s]he needs to be evaluated by [an] orthopaedic surgeon ... and then we can come to that conclusion.”
¶ 36. Because of the lack of evidentiary support for Dr. Goel’s findings, we find no substantial, credible evidence to support the $150,000 for disability. See Miss. R. Evid. 702 (expert testimony must be the product of reliable principles and methods.)
CONCLUSION
¶ 37. We affirm the circuit court’s finding that the City was solely liable for Spann’s injuries. Because we find no substantial, credible evidence to support the award for future medical expenses, future surgery, or disability, we reverse the judgment and remand this case to the trial court which is directed to enter a final judgment in the amount of $70,595.52.
¶ 38. AFFIRMED IN PART; REVERSED AND REMANDED IN PART.
CARLSON, P.J., RANDOLPH, LAMAR AND CHANDLER, JJ., CONCUR. GRAVES, P.J., CONCURS IN PART AND DISSENTS IN PART *1040WITH SEPARATE WRITTEN OPINION JOINED BY DICKINSON, KITCHENS AND PIERCE, JJ.

. See infra.


. Officer Currie stated that he did not see the Altima run a stop sign at that point.


. Officer Currie testified that a termination order was given before the Officers reached the intersection. Officer Liggins, on the other hand, stated that they did not receive the order until after the accident.


.According to Spann, the Officers did not have their sirens on as they entered the intersection. Jenkins also stated that she did not see any blue lights or hear a siren as she approached the intersection. Officer Liggins, however, said that they had their lights and siren on going into the intersection.


. The names of several different physicians who treated Spann appear throughout the record. However, only the testimony and records of Drs. Crenshaw, Goel, Wilkerson, and Williams were submitted at trial.


. The findings of each of these respective physicians are discussed infra.


. Mississippi Code Annotated Section 11-46-9(1 )(c) (Rev.2002) states that:
(1) A governmental entity and its employees acting within the course and scope of their employment or duties shall not be liable for any claim: ...
(c) Arising out of any act or omission of an employee of a governmental entity engaged in the performance or execution of duties *1033or activities relating to police or fire protection unless the employee acted in reckless disregard of the safety and well-being of any person not engaged in criminal activity at the time of injury;
Miss.Code Ann. § 1 l-46-9(l)(c) (Rev.2002) (emphasis added).
This Court has set forth ten factors to consider in determining whether a police pursuit constituted reckless disregard. City of Ellisville v. Richardson, 913 So.2d 973, 977-78 (Miss.2005) (citing Johnson v. City of Cleveland, 846 So.2d 1031 (Miss.2003)). The City's brief, however, specifically states that "an analysis of the reckless disregard factors in a pursuit context is unnecessary in the case at bar.”


. There is no known kinship between the writing justice and Dennis Waller.


. General Order 600-20 requires that officers not enter a signaled intersection at speeds greater than fifteen miles per hour.


. General Order 600-20 also requires that officers ensure that all traffic has yielded before proceeding through a signaled intersection.


. The City cites City of Ellisville v. Richardson, 913 So.2d 973 (Miss.2005), and Mississippi Department of Public Safety v. Durn, 861 So.2d 990 (Miss.2003), to support its argument that the circuit court failed to address the comparative fault of Jenkins. Each of these cases, however, is distinguishable from the case before us. In City of Ellisville, the trial court’s findings on the allocation of fault were ambiguous. City of Ellisville, 913 So.2d at 980. In Durn, the trial court failed to determine if comparative fault should have been assigned to the plaintiff. Durn, 861 So.2d at 999.


. He noted that she had “a little bit of a limp because of the left knee injury.”


. Dr. Crenshaw stated that one could normally expect to recover from such an injury within six to ten weeks, but that Spann had not responded adequately to his treatments.


.The MRI of Spann's brain showed a small lesion, which Dr. Goel said could have been the result of a small hemorrhage in the past. He acknowledged that this hemorrhage could have been related to something other than the accident.


. The disability rating is discussed at greater length infra at pp. 1038-39.


. Dr. Wilkerson acknowledged that he did not review the actual MRI film and was not qualified to interpret such film.


. In her first proposed findings of fact and conclusions of law submitted December 30, 2005, Spann stated that Dr. Goel had assigned her a five-percent partial permanent loss of function to her left knee. For support, Spann correctly cited Dr. Goel's deposition at page twenty-one, lines one through eight. But in her amended proposed findings of fact and conclusions of law, filed just four days later, she asserted that Dr. Goel had assigned a five-percent whole body disability. Spann once again cited Dr. Goel’s deposition at page twenty-one, lines one through eight. However, as set out below, this portion of Dr. Goel's *1037testimony references only her left knee, not the whole body.
[Spann's Attorney]: And before we go to 3/21/05, let me back up. Dr. Goel, in terms of her left knee meniscus tear, did you reach any conclusions as to a disability rating?
[Dr. Goel]: Later on I gave her 5 percent partial permanent loss of function.
[Spann's Attorney]: In her left knee?
[Dr. Goel]: Yeah.
Later in the deposition, on page sixty-six, lines twenty through twenty-five, Dr. Goel assigned a five-percent disability to the body as a whole, without elucidation regarding the discrepancy.


. The circuit court's opinion and order refers to Drs. Williams and Wilkerson as the City's experts. In its brief, the City clarifies that these physicians were not hired by the City and were experts only to the extent that all treating doctors are experts.


. Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579, 587, 113 S.Ct. 2786, 125 L.Ed.2d 469 (1993). Mississippi follows the modified Daubert standard, which requires the trial court to perform a two-pronged inquiry to determine whether expert testimony is admissible under Rule 702 of the Mississippi Rules of Evidence. Miss. Transp. Comm'n v. McLemore, 863 So.2d 31, 38 (Miss.2003) (citing Pipitone v. Biomatrix, Inc., 288 F.3d 239, 244 (5th Cir.2002)). The trial court must first determine whether the testimony is relevant, then whether the proffered testimony is reliable. McLemore, 863 So.2d at 38 (citing Pipitone, 288 F.3d at 244; Mathis v. Exxon Corp., 302 F.3d 448, 460 (5th Cir.2002)).


. Although the Agreed Stipulation as to the Admissibility of Medical Records and Bills states unequivocally that the City "reserves the right to argue against the reasonableness and necessity of the treatment,” the circuit court’s opinion states that the sum was agreed on fay the parties as Spann's "reasonable and necessary medical treatment and bill.” The City does not challenge this discrepancy, but contests the award of damages in toto.


. The circuit court awarded lost wages from March 7, 2005, until December 12, 2005, which was the date of trial. The circuit court apparently chose to begin its calculation on March 7, 2005, because that was the date on which Dr. Goel first examined Spann and declared her to be temporarily totally disabled.


. Spann testified that she was paid $13.92 per hour at the time of the accident. The trial court, however, based its calculation on $13 per hour.

